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                                               UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF FLORIDA

                                                                       MEMORANDUM




UNITED STATES OF AMERICA                                          Case No. 3:18mj256-EMT

-vs-

JOSEPH MALDONADO-PASSAGE


DATE:        September 11, 2018

TO:          United States District Court
             Western District of Oklahoma
             200 NW 4th Street
             Oklahoma City, OK 73102

             Your case No.: 3:17cr72-J-39JRK

FROM:        Paula Cawby, Courtroom Deputy
             Elizabeth M. Timothy, United States Magistrate Judge
             Charles J. Kahn, Jr. United States Magistrate Judge
             United States Courthouse
             100 North Palafox Street
             Pensacola, Florida 32502-5625

SUBJECT:     Rule 5 Proceedings

             The above-styled case originated in your division. Enclosed please find copies of
             documents regarding proceedings held in the Northern District of Florida in
             Pensacola, Florida wherein the following action was taken:

             INITIAL APPEARANCE: September 11, 2018
             DETENTION STATUS:   Defendant Remanded
             CHARGING DOCUMENT: Indictment


Enclosures
